181 F.2d 93
    Alva Dewey HUNTv.William H. Hiatt, Warden, United States Penitentiary, Atlanta, Georgia
    No. 13035.
    United States Court of Appeals,Fifth Circuit.
    April 20, 1950.
    
      Appeal from the United States District Court for the Northern District of Georgia E. Marvin Underwood, Judge.
      Alva Dewey Hunt, in pro. per.
      J. Ellis Mundy, U.S. Atty., Atlanta, Ga., Harvey H. Tisinger, Asst. U.S. Atty., Atlanta, Ga., for appellee.
      Before HUTCHESON, Chief Judge, and McCORD and WALLER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The judgment of the lower court is affirmed.
    
    